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                IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                             CLARKSBURG

ALEXANDER KEEFOVER,
individually and on behalf
of all others similarly situated,

          Plaintiff,

v.                                        Civ. Action No. 1:19-CV-188
                                                    (Kleeh)

CAPSTONE RESTAURANT GROUP,
LLC and LUND BROWN ENTERPRISES,
LLC, a California Corporation,

          Defendants.


                             DISMISSAL ORDER

     Pursuant    to   Rule   41   of   the   Federal    Rules    of   Civil

Procedure, the parties filed a Stipulation of Dismissal (ECF No.

22) in   the above-referenced civil action on           March 27, 2020.

Based on that Stipulation and for reasons apparent to the Court,

this matter is hereby DISMISSED WITH PREJUDICE and stricken from

the docket of the Court. All pending motions are DENIED AS MOOT

(ECF Nos. 11, 13).

     The Clerk is ORDERED to forward a copy of this order to all

counsel of record via the CM/ECF notification system.

     DATED: March 27, 2020


                                        /s/ Thomas S. Kleeh
                                        THOMAS S. KLEEH
                                        UNITED STATES DISTRICT JUDGE
